    Case 4:22-cv-03096 Document 18 Filed on 09/23/22 in TXSD Page 1 of 2




                        IN THE UMTED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KONNECH,INC.,                                        s
                                                     $
              PLAINTTFF,                             $
                                                     $
v                                                    $   CML   ACTION NO. 4:22-CV-03096
                                                     $
TRUE THE VOTE,INC., GREGG                            $
PHILLPS, and CATHERINE                               $
ENGELBRECHT,                                         $
                                                     $
              DEF'EI\[DANTS.                         s

    STIPULATION TO EXTEI\D TEMPORARY RESTRAINING ORDER AND RESET
                   PRELIMINARY INJT]NCTION HEARING

       WHEREAS, on September 12, 2022,Plaintiff Konnech, Inc. ("Konnech") filed a Motion

for Temporary Restraining Order and Preliminary Injunction and Brief in Support ("Motion").

       WHEREAS, on September 12,2022, the Court issued a Temporary Reshaining Order

("TRO") against Defendants True the Vote, Inc., Gregg Phillips, and Catherine Engelbrecht

("Defendants" and, collectively with Konnech, the "Parties").

       WHEREAS, the TRO is set to expire on September 26, 2022, and a preliminary

injunction hearing is set for September 26,2022 at l1:30 AM.

       WHEREAS, due to Defendants' unavailability and ongoing discussions between the

Parties concerning an agreed preliminary injunction, the Parties agree and wish to reset the

hearing on Konnech's preliminary injunction for a date after October 5,2022 when Defendants

have represented they   will   be available for the hearing.

       WHEREAS, due to ongoing discussions between the Parties concerning an           agreed

preliminary injunction, the Parties agree and wish to extend the TRO until such time after the
 Case 4:22-cv-03096 Document 18 Filed on 09/23/22 in TXSD Page 2 of 2




Parties enter an agreed preliminary injunction or   until such time after the Court has ruled   on

Konnech's Motion for a preliminary injunction in this action.

          IT IS HEREBY STIPULATED AND AGREED, by and among the undersigned,                    and

subject   to approval of the Court, that: 1) the preliminary injunction hearing in the above-
captioned action which is currently set for September 26,2022, be reset for a date after October

5, 2022; and 2) the expiration date of the TRO be extended until the earlier of the date when the

Parties enter an agreed preliminary injunction that is signed by the Court or until such time after

the Court has ruled on Konnech's Motion for preliminary injunction in this action.



          to and



Constantine Z.
Counselfor Plaintiff           Inc.

Agreed to and accepted




      Akers
Counselfor Defendants True the Vote,Inc.,
Gregg Phillips, and Catherine Engelbrecht




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